Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 1 of 66 PageID #: 26




                                         Exhibit A

Documents not attached to the Summons and Complaint:

    1) Note, dated July 27, 2007.

    2) Mortgage, dated July 27, 2007.

    3) Modification Agreement No. 1 dated October 1, 2008.

    4) Assignment of Mortgage, dated March 19, 2010.

    5) Modification Agreement No. 2, dated January 1, 2012.




{11390520:1}
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 2 of 66 PageID #: 27
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 3 of 66 PageID #: 28
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 4 of 66 PageID #: 29
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 5 of 66 PageID #: 30
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 6 of 66 PageID #: 31
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 7 of 66 PageID #: 32
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 8 of 66 PageID #: 33
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 9 of 66 PageID #: 34
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 10 of 66 PageID #: 35
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 11 of 66 PageID #: 36
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 12 of 66 PageID #: 37
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 13 of 66 PageID #: 38
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 14 of 66 PageID #: 39
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 15 of 66 PageID #: 40
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 16 of 66 PageID #: 41
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 17 of 66 PageID #: 42
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 18 of 66 PageID #: 43
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 19 of 66 PageID #: 44
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 20 of 66 PageID #: 45
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 21 of 66 PageID #: 46
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 22 of 66 PageID #: 47
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 23 of 66 PageID #: 48
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 24 of 66 PageID #: 49
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 25 of 66 PageID #: 50
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 26 of 66 PageID #: 51
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 27 of 66 PageID #: 52
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 28 of 66 PageID #: 53
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 29 of 66 PageID #: 54
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 30 of 66 PageID #: 55
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 31 of 66 PageID #: 56
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 32 of 66 PageID #: 57
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 33 of 66 PageID #: 58
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 34 of 66 PageID #: 59
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 35 of 66 PageID #: 60
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 36 of 66 PageID #: 61
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 37 of 66 PageID #: 62
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 38 of 66 PageID #: 63
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 39 of 66 PageID #: 64
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 40 of 66 PageID #: 65
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 41 of 66 PageID #: 66
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 42 of 66 PageID #: 67
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 43 of 66 PageID #: 68
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 44 of 66 PageID #: 69
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 45 of 66 PageID #: 70
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 46 of 66 PageID #: 71
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 47 of 66 PageID #: 72
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 48 of 66 PageID #: 73
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 49 of 66 PageID #: 74
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 50 of 66 PageID #: 75
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 51 of 66 PageID #: 76
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 52 of 66 PageID #: 77
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 53 of 66 PageID #: 78
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 54 of 66 PageID #: 79
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 55 of 66 PageID #: 80
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 56 of 66 PageID #: 81
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 57 of 66 PageID #: 82
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 58 of 66 PageID #: 83
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 59 of 66 PageID #: 84
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 60 of 66 PageID #: 85
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 61 of 66 PageID #: 86
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 62 of 66 PageID #: 87
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 63 of 66 PageID #: 88
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 64 of 66 PageID #: 89
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 65 of 66 PageID #: 90
Case 1:17-cv-05252-BMC Document 3-1 Filed 09/07/17 Page 66 of 66 PageID #: 91
